                   Case 2:21-cv-05832-GW-PD Document 11 Filed 08/17/21 Page 1 of 4 Page ID #:32




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                           8
                             Attorneys for Defendant New York
                           9 Marine and General Insurance Company
                       10                         UNITED STATES DISTRICT COURT
                       11           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                       12
                       13 Travelers Commercial Insurance              Case No. 2:21-cv-5832-GW (PDx)
                          Company, a Connecticut corporation,
                       14                                             DEFENDANT NEW YORK MARINE
                                      Plaintiff,                      AND GENERAL INSURANCE
                       15                                             COMPANY’S NOTICE OF MOTION
                                v.                                    AND MOTION TO DISMISS
                       16                                             COMPLAINT PURSUANT TO FED.
                          New York Marine and General                 R. CIV. P. 12(b)(6)
                       17 Insurance Company, a New York
                          corporation                                 Date:           September 16, 2021
                       18                                             Time:           8:30 a.m.
                                      Defendant.                      Judge:          Hon. George H. Wu
                       19                                             Courtroom:      9D
                       20
                       21
                       22         TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
                       23         PLEASE TAKE NOTICE that on September 16, 2021, at 8:30 a.m., or as soon
                       24 thereafter as this matter may be heard in Courtroom 9D of the above-entitled court
                       25 located at 350 W. 1st Street, Los Angeles, California 90012, Defendant New York
                       26 Marine and General Insurance Company (“New York Marine”), pursuant to Rule
                       27 12(b)(6) of the Federal Rules of Civil Procedure, will and hereby does move to
                       28 dismiss the Complaint filed by Plaintiff Travelers Commercial Insurance Company
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 SHEPPARD, W AYTE &
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    FRESNO, CA 93720                   NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT (FRCP 12(b)(6))
                   Case 2:21-cv-05832-GW-PD Document 11 Filed 08/17/21 Page 2 of 4 Page ID #:33




                           1 (“Travelers”) and each cause of action purportedly stated therein, including the first
                           2 cause of action for “Declaratory Relief” and the second cause of action for “Equitable
                           3 Contribution of Defense Expenses.”
                           4        This motion to dismiss is made on the ground that the Complaint and each cause
                           5 of action purportedly stated therein fail to state a claim upon which relief can be
                           6 granted in that their allegations, together with both facts of which judicial notice may
                           7 be taken and facts set forth in pleadings and letters referred to in the Complaint
                           8 considered under the “Incorporation by Reference” doctrine, fail to demonstrate that
                           9 New York Marine either owed or owes a duty to provide independent counsel
                       10 pursuant to Civil Code § 2860 to a common Insured in the underlying action venued
                       11 in the Circuit Court of Fairfax County, Virginia, Case No. 2019 02911, and thus fail
                       12 to show that New York Marine, which is otherwise providing a defense through
                       13 counsel it appointed, is obligated to reimburse Travelers for fees generated by
                       14 independent counsel. Fed. Ins. Co. v. MBL, Inc., 219 Cal.App.4th 29, 48-49 (2013).
                       15 Under Civil Code § 1646, the New York Marine policy is to be interpreted according
                       16 to the laws of the place where it is to be performed. Virginia law, unlike California
                       17 law, does not recognize that an attorney appointed by a defending insurer is in a
                       18 “tripartite” relationship with or otherwise has an attorney-client relationship with the
                       19 insurer. Thus, defense counsel appointed by New York Marine to defend the mutual
                       20 insured did not have an attorney-client relationship with New York Marine from
                       21 which a conflict of interest could even arise. Secondly, even assuming that California
                       22 law applies, an insured is only entitled to independent counsel where a “conflict of
                       23 interest” exists. However, since defense counsel in Virginia is only obligated to
                       24 comply with the Virginia Code of Professional Responsibility and not the California
                       25 Rules of Professional Responsibility, no conflict of interest exists as under Virginia
                       26 law an attorney appointed by an insurer only has the insured for a client. Furthermore,
                       27 the reservation of rights letter issued by New York Marine did not “reserve … rights
                       28 on a[ny] given issue” whose “outcome [could] be controlled by counsel first retained
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                   Case 2:21-cv-05832-GW-PD Document 11 Filed 08/17/21 Page 3 of 4 Page ID #:34




                           1 by [New York Marine] for the defense of the claim” which could thereby create any
                           2 actual conflict of interest necessitating the provision of independent counsel under
                           3 Civil Code § 2860(b). As a consequence of the foregoing, the Complaint fails to
                           4 allege facts sufficient to state the purported claims alleged against New York Marine
                           5 for declaratory relief or equitable contribution.
                           6               This Motion is based on this Notice of Motion and Motion, the accompanying
                           7 Memorandum of Points and Authorities, the Declaration of James P. Wagoner
                           8 together with exhibits attached thereto, the Request for Judicial Notice together with
                           9 facts set forth therein as shown by the exhibits attached to the Declaration of James
                       10 P. Wagoner, and all pleadings and papers of record and on file in this case, and such
                       11 additional authority and argument as may be presented at or before the time this
                       12 Motion is heard or submitted.
                       13                  This Motion is made following the conference of counsel pursuant to L.R. 7-3,
                       14 which took place on August 10, 2021.
                       15
                               Dated: August 17, 2021
                       16                                                By:       /s/ James. P. Wagoner
                       17                                                             James P. Wagoner
                                                                                        Lejf E. Knutson
                       18                                                          Nicholas H. Rasmussen
                       19                                                            Graham Van Leuven
                                                                        Attorneys for Defendant New York Marine and
                       20                                                        General Insurance Company
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    FRESNO, CA 93720                           NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT (FRCP 12(b)(6))
                   Case 2:21-cv-05832-GW-PD Document 11 Filed 08/17/21 Page 4 of 4 Page ID #:35




                           1                                 PROOF OF SERVICE
                           2   Travelers Commercial Insurance Company v. New York Marine and General
                                                         Insurance Company
                           3                      Case No. 2:21-cv-5832-GW (PDx)
                           4 STATE OF CALIFORNIA, COUNTY OF FRESNO
                           5       At the time of service, I was over 18 years of age and not a party to this action.
                             I am employed in the County of Fresno, State of California. My business address is
                           6 7647 North Fresno Street, Fresno, CA 93720.
                           7        On August 17, 2021, I served true copies of the following document(s)
                             described as DEFENDANT NEW YORK MARINE AND GENERAL
                           8 INSURANCE COMPANY’S NOTICE OF MOTION AND MOTION TO
                             DISMISS COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) on the
                           9 interested parties in this action as follows:
                       10 Mark D. Peterson
                          Kathleen O. Peterson
                       11 Amy Howse
                          Cates Peterson LLP
                       12 4100 Newport Place, Suite 230
                          Newport Beach, CA 92660
                       13 Telephone: (949) 724-1180
                          Email: markpeterson@catespeterson.com
                       14 kpeterson@catespeterson.com
                          ahowse@catespeterson.com
                       15
                          Attorneys    for   Plaintiff  Travelers
                       16 Commercial Insurance Company
                       17
                                 BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                       18 the document(s) with the Clerk of the Court by using the CM/ECF system.
                          Participants in the case who are registered CM/ECF users will be served by the
                       19 CM/ECF system. Participants in the case who are not registered CM/ECF users will
                          be served by mail or by other means permitted by the court rules.
                       20
                                 I declare under penalty of perjury under the laws of the United States of
                       21 America that the foregoing is true and correct and that I am employed in the office of
                          a member of the bar of this Court at whose direction the service was made.
                       22
                                 Executed on August 17, 2021, at Fresno, California.
                       23
                       24
                                                                         /s/ Marisela Taylor
                       25                                                Marisela Taylor
                       26
                       27
                       28
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 SHEPPARD, W AYTE &
   CARRUTH LLP
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    FRESNO, CA 93720                     NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT (FRCP 12(b)(6))
